                       Case 2:18-cr-00160-CJB-DMD Document 144 Filed 06/13/19 Page 1 of 6
AO 245B (Rev. )   Judgment in a Criminal Case
                       Sheet 1



                                          UNITED STATES DISTRICT COURT
                                        Eastern District
                                     __________  DistrictofofLouisiana
                                                              __________
                                                       )
              UNITED STATES OF AMERICA                 )      JUDGMENT IN A CRIMINAL CASE
                          v.                           )
                                                       )
                    JODY LAMBERT                              Case Number: 18-160 "J"
                                                       )
                                                       )      USM Number: 37592-034
                                                       )
                                                       )       Ralph S. Whalen, Jr.
                                                       )      Defendant’s Attorney
THE DEFENDANT:
G
✔ pleaded guilty to count(s)          1 of the Superseding Bill of Information on October 18, 2018.

G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended               Count
 18 U.S.C. § 241                    Civil Rights Conspiracy                                                                               1




       The defendant is sentenced as provided in pages 2 through                6        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
G
✔ Count(s)       DOOUHPDLQLQJ                          G is      G
                                                                  ✔ are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          6/13/2019
                                                                         Date of Imposition of Judgment




                                                                         Signature of Judge




                                                                          CARL J. BARBIER, U.S. DISTRICT JUDGE
                                                                         Name and Title of Judge


                                                                          6/14/2019
                                                                         Date
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AO 245B (Rev. ) Judgment in Criminal Case
                      Sheet 2 — Imprisonment

                                                                                                     Judgment — Page    2        of   6
 DEFENDANT: JODY LAMBERT
 CASE NUMBER: 18-160 "J"

                                                             IMPRISONMENT
            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term of:
   120 months. The term of imprisonment imposed by this judgment shall run concurrently to any term of
  imprisonment that may be imposed on the defendant under 21st Judicial District Court, Tangipahoa
  Parish, Louisiana, Dkt. #1602073. Defendant is entitled to credit for time served from June 30, 2016.


      ✔ The court makes the following recommendations to the Bureau of Prisons:
      G
       7KDWWKHGHIHQGDQWEHSODFHGLQDVXEVWDQFHGUXJDEXVHWUHDWPHQWSURJUDP
       7KDWWKHGHIHQGDQWEHSODFHGLQDQHGXFDWLRQDODQGRUYRFDWLRQDOSURJUDP
       7KDWWKHGHIHQGDQWEHSODFHGLQPHQWDOKHDOWKWUHDWPHQWFRXQVHOLQJ
       7KDWWKHGHIHQGDQWEHKRXVHGLQDIHGHUDOIDFLOLW\LQ0DULDQQD)ORULGDEXWVKRXOG127EHGHVLJQDWHGWRWKHVDPH
       IDFLOLW\DVDQ\FRGHIHQGDQW
      G
      ✔ The defendant is remanded to the custody of the United States Marshal.

      G The defendant shall surrender to the United States Marshal for this district:
            G at                                  G a.m.        G p.m.           on                                          .

            G as notified by the United States Marshal.

      G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            G before QRRQ on                                                 .

            G    as notified by the United States Marshal.

            G    as notified by the Probation or Pretrial Services Office.


                                                                   RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                       to

 aW                                                 , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL


                                                                             By
                                                                                                DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. ) Judgment in a Criminal Case
                     Sheet 3 — Supervised Release
                                                                                                       Judgment—Page     3    of        6
DEFENDANT: JODY LAMBERT
CASE NUMBER: 18-160 "J"
                                                      SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
 3 years.




                                                    MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
.   You must not unlawfully possess a controlled substance.
.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            G The above drug testing condition is suspended, based on the court's determination that you
                SRVHDORZULVNRIIXWXUHVXEVWDQFHDEXVH FKHFNLIDSSOLFDEOH
    G <RXPXVWPDNHUHVWLWXWLRQLQDFFRUGDQFHZLWK86&DQG$RUDQ\RWKHUVWDWXWHDXWKRUL]LQJDVHQWHQFHRI
            UHVWLWXWLRQ FKHFNLIDSSOLFDEOH
.    ✔ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
      G
.    G You must comply with the requirements of the Sex Offender Registration and Notification Act ( U.S.C. § , et seq.) as
            directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in WKHORFDWLRQwhHUH you
            reside, work,are a student, or were convicted of a qualifying offense. (check if applicable)
.    G     You must participate in an approved program for domestic violence. (check if applicable)




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. ) Judgment in a Criminal Case
                      Sheet 3A — Supervised Release
                                                                                               Judgment—Page         4        of         6
DEFENDANT: JODY LAMBERT
CASE NUMBER: 18-160 "J"

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date
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AO 245B(Rev. ) Judgment in a Criminal Case
                     Sheet 3D — Supervised Release
                                                                                             Judgment—Page     5    of       6
DEFENDANT: JODY LAMBERT
CASE NUMBER: 18-160 "J"

                                       SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall pay any fine/restitution/CJA fee that is imposed by this judgment.

2. The defendant shall provide complete access to financial information, including disclosure of all business and personal
finances, to the United States Probation Officer.

3. The defendant shall not apply for, solicit or incur any further debt, included but not limited to loans, lines of credit or
credit card charges, either as a principal or cosigner, as an individual or through any corporate entity, without first obtaining
written permission from the United States Probation Officer.

4. The defendant shall participate in an approved treatment program for drug and/or alcohol abuse and abide by all
supplemental conditions of treatment, which may include urinalysis testing. Participation may include inpatient/outpatient
treatment. The defendant shall contribute to the cost of this program to the extent that the defendant is deemed capable by
the United States Probation Officer. While under supervision, the defendant shall submit to random urinalysis testing, as
directed by the United States Probation Officer.

5. The defendant shall submit to a mental health evaluation. If treatment is recommended, the defendant shall participate
in an approved treatment program and abide by all supplemental conditions of treatment, to include medication as
prescribed. Participation may include inpatient/outpatient treatment. The defendant will contribute to the costs of services
rendered (co-payment) based on ability to pay or availability of third party payment.

6. The defendant shall pursue his HiSET or vocational training that will equip him for suitable employment as approved by
the United States Probation Officer.

7. The defendant shall maintain full-time, legitimate employment and not be unemployed for a term of more than 30 days
unless excused for schooling, training, or other acceptable reasons. Further, the defendant shall provide documentation
including, but not limited to pay stubs, contractual agreements, W-2 Wage and Earning Statements, and other
documentation requested by the United States Probation Officer. If unemployed, the defendant shall participate in
employment readiness programs, as approved by the probation officer.

8. As directed by the probation officer the defendant shall participate in an approved cognitive behavioral therapeutic
treatment program and abide by all supplemental conditions of treatment. The defendant shall contribute to the cost of this
program to the extent that the defendant is deemed capable by the United States Probation Officer.

9. The defendant shall submit his person, residence, office or vehicle to a search, conducted by a United States Probation
Officer at a reasonable time in a reasonable manner, based upon reasonable suspicion that contraband or evidence of a
violation of a condition of supervision may exist; failure to submit to a search may be grounds for revocation; the defendant
shall warn any other resident(s) that the premises may be subject to searches pursuant to this condition.

10. Defendant shall have to contact whatsoever with the victim D.P.
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AO 245B (Rev. )   Judgment in a Criminal Case
                       Sheet 5 — Criminal Monetary Penalties
                                                                                                         Judgment — Page        6     of        6
 DEFENDANT: JODY LAMBERT
 CASE NUMBER: 18-160 "J"
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                  JVTA Assessment*                 Fine                        Restitution
 TOTALS            $ 100.00                     $ 0.00                             $ 0.00                    $
      7KHVSHFLDODVVHVVPHQWLVGXHLPPHGLDWHO\
 ✔ The determination of restitution is deferred until
 G                                                             9/5/2019    . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                       Total Loss**              Restitution Ordered             Priority or Percentage




 TOTALS                               $                         0.00           $                        0.00


 G     Restitution amount ordered pursuant to plea agreement $

 G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       G the interest requirement is waived for the            G fine      G restitution.
       G the interest requirement for the          G fine        G     restitution is modified as follows:

 * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
